Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 1 of 36




                    EXHIBIT 1
                        Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 2 of 36


                                                                                                                                                       POS-015
 ATTORNEY OR PARTY WITHOUT ATTORNEY:                        STATE BAR NO     122324                                            FOR COURT USE ONLY

 NAME   Michael J. Reed
 FIRM NAME  Law Offices of Michael J. Reed
 STREET ADDRESS : 60 CreekTree Lane
 c ITY Alamo                                                      STATE:   Ca      ZI P CODE: 94507

 TELEPHON E NO .. (925) 984-7477                                 FAX NO. :  (734) 468-6168
 E-MAIL ADDR ESS : mreed 10202@aol.com

 ATTORNEY FOR (Name): Plaintiff STEPHEN BRATSET

 SUPERIOR COU RT OF CALIFORNIA, COU NTY OF Alameda
     STREET ADD RESS:    1225 Fallon Street
  MAILIN G ADDRE SS:     1225 Fallon Street
 CI TY AND ZIP CODE:      Oakland , Ca . 94612
       BRAN CH NAM E:    Renee C. Davidson

          Plaintiff/Petitioner: STEPHEN BRATSET
  Defendant/Respondent:            OHL SUPPLY CHAIN
                                                                                                                CASE NUMBER:
                  NOTICE AND ACKNOWLEDGMENT OF RECEI PT-CIVIL                                                   RG21110598


TO (insert name of party being served): OHL SUPP LY CHAIN, a business entity form unknown


                                                                                NOTICE
       The summons and other documents identified below are being served pursuant to section 415 .30 of the California Code of Civil
       Procedure . Your failu re to complete this form and return it within 20 days from the date of ma ili ng shown below may subject you
       (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
       on you in any other manner permitted by law.
       If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
       fo rm must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
       entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
       summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
       acknowledgment of receipt below.


Date of mailing: _1_2/_0_1_/2_0_2_1_ _ _ _ _ _ _ _ _ _ _ _ _ __


                                    Michael J. Reed
                                   (TYPE OR PRINT NAM E)                                   ►
                                                           ACKNOWLEDGMENT OF RECEIPT
This acknowledges receipt of (to be completed by sender before mailing):

1.    IT]     A copy of the summons and of the complaint.
2.    CR]     Other (specify):


              Notice of Case Management Conference and Order
              Notice of Assignment of Judge For All Purposes


(To be completed by recipient):

Date this form is signed:
                                   - ---------------

                 (TYPE OR PRINT YOUR NAM E AND NAME OF ENTITY, IF ANY,
                        ON WJ-IOSE BEHAL F THI S FORM IS SIGN ED)
                                                                                           ►      (SIGNATU~E OF PERSON ACKNOWLEDGING RE CEI PT, WITH TITLE IF
                                                                                               ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTI TY)




                                                                                                                                                         Page 1 of 1

Form Adopted for Mandatory Use
Judicial Council of Californ ia            NOTICE AND ACKNOWLEDGMENT OF RECEIPT -                                  CIVIL                     Code of Civil Procedure,
                                                                                                                                                  §§41 5.30,4 17.10
POS-01 5 [R ev. January 1, 2005]
                                                                                                                                                www.courtinfo.ca.gov
                         Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 3 of 36

                                                                                                                                                         SUM-100
                                                  SUMMONS                                                                  FOR COURT USE ONLY
                                                                                                                       (SOLO PARA USO DE LA CORTE)
                                        (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AV/SO AL DEMANDADO):                                                                                                  ENDORSE D
                                                                                                                         F!l ED
 DHL SUPPLY CHAIN, a business entity form unknown and DOES                                                           ALAMED/\ COUNTY
 1-50,
YOU ARE BEING SUED BY PLAINTIFF:                                                                                               AUG 2 4 2021
(LO ESTA DEMANDANDO EL DEMANDANTE):
                                                                                                             CLERK OF THE SUPERIOR COURT
 STEPHEN BRATSET
                                                                                                             By                ~ft,,.lA   Fl:J              Deputy


  NOTICE! You have been sued . The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you . Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo .ca.gov/selfhelp}, your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form . If you do not file your response on time , you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
  (www.courtinfo.ca.gov/selfhelp) , or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 jAVISO! Lo han demandado. Si no responde dentro de 30 dias, la carte puede decidir en su contra sin escuchar su version. Lea !a informaci6n a
 continuaci6n.
     Tiene 30 DIAS DE CALENDAR/O despues de que le entreguen esta citaci6n y papeles /ega/es para presentar una respuesta par escrito en esta
 carte y hacer que se entregue una copia al demandante. Una carta o una Jlamada telef6nica no Jo protegen. Su respuesta par escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la carte. Es posible que haya un formu/ario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la carte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.govJ, en la
 biblioteca de /eyes de su condado o en la carte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de fa carte
 que le de un formulario de exenci6n de pago de cuotas. Si no pre sen ta su respuesta a tiempo, puede perder el caso por incumplimiento y la carte le
 podra quitar su sue/do, dinero y bienes sin mas advertencia.
    Hay otros requisitos Jegales. Es recomendab/e que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede /Jamar a un seNicio de
 remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con las requisitos para obtener seNicios legates gratuitos de un
 programa de seNicios lega/es sin fines de Jucro. Puede encontrar estos grupos sin fines de /ucro en el sitio web de California Legal SeNices,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de .'as Cortes de California, (www.sucorte.ca.govJ o poniendose en contacto con fa carte o el
 co/egio de abogados locales. A VISO: Par fey, la carte tiene derecho a rec/amar las cuotas y /os costos exentos par imponer un gravamen sabre
 cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la carte antes de que la carte pueda desechar el caso.

The name and address of the court is:
(El nombre y direcci6n de la carte es):
                                                                                                          CASE NUMBER:
                                                                                                          (Numero def Caso):   RG')
Alameda County Superior Court
                                                                                                                                 · c;.111. 0)) 8
1225 Fallon Street, Oakland, Ca. 94612
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el numero de te!efono def abogado def demandante, o def demandante que no tiene abogado, es):
Michael J. Reed SBN: 122324 60 CreekTree Lane, Alamo, Ca. 94507 (925) 743-8353

DATE:               AUG       611   4 2021                                        Clerk, by                                                              , Deputy
(Fecha)                       ii                   Chad Finke                     (Secretario)            GINA FU                                         (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010) .)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)) .
                                  NOTICE TO THE PERSON SERVED: You are served
 !SEALJ                           1.              D
                                          as an individual defendant.
                                  2.              D
                                          as the person sued under the fictitious name of (specify) :


                                             3.   D    on behalf of (specify):

                                                  under:   D    CCP 416 .10 (corporation)                  D        CCP 416.60 (minor)
                                                           D    CCP 416.20 (defunct corporation)           D        CCP 416.70 (conservatee)
                                                           D    CCP 416.40 (association or partnership)    D        CCP 416.90 (authorized person)
                                                           D   other (specify).·
                                             4.   D    by personal delivery on (date) :
                                                                                                                                                            Pa e 1 of 1
Form Adopted for Mandatory Use
  Judicial Council of California
                                                                           SUMMONS                                               Code of Civil Procedure§§ 4 12.20, 465
                                                                                                                                                   www.courtinfo. ca.gov
  SUM -100 [Rev. July 1, 2009]
            Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 4 of 36




                                                                                      ENDORSED
     Michael J. Reed SBN 122324                                                           FILED
     Attorney at Law                                                                ALAMEDA COUNTY
 2   60 CreekTree Lane
     Alamo, California 94507                                                           AUG , :4 2021
 3   Telephone: (925) 743-8353                                                 CLERK OF THE SUPERIOR COURT
 4                                                                             By          GI~
     Attorney for: Plaintiff STEPHEN BRATSET
 5

 6                                     SUPERIOR COURT OF CALIFORNIA

 7                                  IN AND FOR THE COUNTY OF ALAMEDA

 8

 9   STEPHEN BRATSET                                      ·   ~     Case No.    RG21
                                                              )
10          Plaintiff,                                        )
                                                              )     COMPLAINT FOR DAMAGES FOR
11          vs.                                               )     EMPLOYMENT DISCRIMINATION AND
                                                              )
12   DHL SUPPLY CHAIN, a business entity form                       HARASSMENT (VIOLATION OF FAIR
                                                              )
     unknown and DOES 1-50,                                   )     EMPLOYMENT AND HOUSING ACT); AND
13                                                            )     REQUEST FOR JURY TRIAL
            Defendants.                                       )
14                                                            )
                                                              )
15

16   PLAINTIFF, STEPHEN BRATSET ALLEGES AS FOLLOWS:

11                                      INTRODUCTORY ALLEGATIONS

18
     1.     Plaintiff, STEPHEN BRATSET, (hereinafter "plaintiff') is a resident of the City of Salida,
19
     California, County of Stanislaus. Plaintiff was employed by defendant, DHL SUPPLY CHAIN, a business
20
     entity form unknown (Hereinafter, "DHL SUPPLY CHAIN"). At the time he was terminated, plaintiff was
21
     employed by DHL SUPPLY CHAIN, which has its business address listed at 7364 Marathon Drive,
22
     Livermore, California 94550.
23
     2.     The true names and/or capacities, whether individual, corporate or associate or otherwise, of a
24
     defendant named in this action as Does 1 through 50, inclusive are unknown to plaintiff at this time;
25
     therefore, plaintiff sues such defendants by said fictitious names, and plaintiff will amend this complaint to
26

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


                                                              -1-
             Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 5 of 36




     show their true names and capacities upon discovery of same. Plaintiff is informed and believes, and

 2   thereon alleges that each of these fictitiously named defendants is responsible in some manner for the

 3   occurrences herein alleged and that, plaintiffs injuries as herein alleged were proximately caused by the
 4   aforementioned defendants.
 5          Plaintiff is informed and believes and thereon alleges that each of the defendants herein was, at all
     3.
 6   times relevant to this action, the agent, employer, employee, representing partner, joint venturer or successor
 7
     in interest of the remaining defendants and was acting within the course and scope of that relationship.
 8
     Plaintiff is further informed and believes and thereon alleges that each of the defendants herein, gave
 9
     consent to, ratified, and authorized the acts alleged herein of each of the remaining defendants.
     4.     Plaintiff is informed and believes and thereon alleges that defendant DHL SUPPLY CHAIN was a
11
     corporation, qualified to do business in the State of California, doing business in the State of California and
12
     as such was subject to the laws of the State of California. At all times material to this complaint, defendant
13
     DHL SUPPLY CHAIN was a corporation doing business in the County of Alameda, California. Plaintiff is
14
     informed and believes and thereon alleges that defendant DHL SUPPLY CHAIN was, and at times herein
15
     mentioned in this complaint, was plaintiffs employer and was responsible in some manner for the acts and
16
     occurrences herein alleged.
17
     5.     Defendant, DHL SUPPLY CHAIN is an "employer", employing fiv~ or more persons, and as such is
18
     subject to suit under the California Fair Employment and Housing Act pursuant to California Government
19
     Code Section 12926(d).
20
     6.     Plaintiff is informed and believes ,and thereon alleges that this court is the proper court because the
21
     injury to plaintiff, STEPHEN BRATSET occurred within its jurisdictional area and the principal place of
22
     business of the defendant is located within its jurisdictional area.
23
     7.     Plaintiff commenced his employment with and was employed by Defendants continuing through
24
     December 27, 2019.
25
     8.     At all material times, various employees, whose identities are currently unknown, were supervisory
26
     employees of defendant DHL SUPPLY CHAIN and plaintiffs supervisors and in doing the things
27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRJMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRJAL
28


                                                             -2-
             Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 6 of 36
 r



     hereinafter alleged said employees were acting as the agents of Defendants and were acting within the

 2   course and scope of that relationship.

 3   9.     Throughout the period that plaintiff was employed by DEFENDANTS, DEFENDANTS acting

 4   through their agents and plaintiffs managers, supervisors and others engaged in intentional acts with the

 5   intent of discriminating against and harassing plaintiff on account of his race and age in violation of the

 6   provisions of the California Fair Employment and Housing Act (FEHA) (Govt. C. §§12900- 12996).

 7   During the course of his employment, plaintiff came under the supervision of Defendant's managers and

 8   supervisors who subjected plaintiff to differential terms and conditions of employment because of his race

 9   and age. These differential terms and conditions of employment included but were not limited to

1o   harassment not experienced by employees who were of a different race and younger than plaintiff, as well as

11   excessive criticism not otherwise directed to employees who were not disabled. Such discrimination and

12   harassment consisted of, but was not limited to, unfounded complaints made against plaintiff concerning

13   plaintiffs work, retaliation against plaintiff, denial of advancement, promotions, severance package,

14   retirement package and other benefits, and repeated acts of harassment and discrimination directed at

15   plaintiff which for him created an environmentally hostile work environment and which resulted in his

16   termination on or about December 27, 2019.

17   10.    Plaintiff is informed and believes and thereon alleges that during the time period between November

18   21, 2019 and December 10, 2019, plaintiff reported numerous safety concerns at his employment site to one

19   of the two general managers, including but not limited to multiple :fluorescent tubes out in numerous picking

20   aisles leaving them close to completely dark, the Anti-Fatigue mats in front of vertical lifting machines were

21   always out of place and all over the place causing a trip and fall hazard which was personally witnessed by

22   plaintiff on multiple occasions, safety Chains that cordon off the walking aisles so that forklifts can access

23   the product above the aisle ... were always laying on the ground causing trip and fall hazard, and on one

24   occasion plaintiff witnessed a man coming onto the 3rd shift trip on one and actually become horizontal and

25   land on the ground.

26   11.    On or about December 10th , plaintiff came to work and parked in the parking lot - if plaintiff arrived

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR WRY TRIAL
28


                                                            -3-
               Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 7 of 36
 r




     early enough plaintiff sought to make friends with the cats there. Plaintiff was engaged in this practice on

 2   the 1Oth , when another employee drove his car into the parking lot of a neighboring business with his car

 3   stereo slamming, and he kept it slamming tmtil I turned on my phone's recorder and went up to his door -

 4   then he finally turned it off.

 5   12.      After going into the building and going to this same General Manager and reporting it to him AND

 6   showing him my video .. .! was suspended for a week and told ifI'm brought back, I'll get back pay.

 7   13.      Subsequently, plaintiff was contacted by phone for termination on the 27th - not a week, but 17 days

 8   later.

 9   14.      Between walking into the building and being told to leave, plaintiff completed three DBL employee

10   complaint forms and made the employer give him copies.

11   15.      Plaintiffs pay rate per hour on his pay stubs is $19 flat; although the job was previously advertised

12   to be $19.50 per hour and the employer presently adve1iises the job's pay rate to be $20.50.

13                                             FIRST CAUSE OF ACTION

14         (Plaintiff STEPHEN BRATSET'S First Cause of Action for Employment Discrimination on The
            Basis of Age, Violation of Fair Employment and Housing Act against Defendant OHL SUPPLY
15                                             CHAIN and DOES 1-50)
16
     16.      Plaintiff refers to, realleges, and incorporates by reference, as though fully set forth herein, the
17
     allegations, and each of them, contained in paragraphs 1 through 15.
18
     17.      Throughout the period that plaintiff was employed by DBL SUPPLY CHAIN, DBL SUPPLY
19
     CHAIN acting through its agents and plaintiffs managers, supervisors, co-workers and others engaged in
20
     intentional acts with the intent of discriminating against and harassing plaintiff on account of his age in
21
     violation of the provisions of the California Fair Employment and Housing Act (FERA) (Govt. C. §§12900-
22
     12996)
23
     18.      During the time plaintiff was employed by DBL SUPPLY CHAIN he was discriminated against and
24
     harassed with respect to the terms, conditions, and privileges of his employment because of his age. Such
25
     discrimination and harassment consisted of, but was not limited to, unfounded complaints made against
26
     plaintiff concerning plaintiffs work, retaliation against plaintiff, denial of advancement, transfer,
27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


                                                              -4-
             Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 8 of 36




     promotions, severance package, retirement package and other benefits, and repeated acts of harassment and

 2   discrimination directed at plaintiff which for him created an environmentally hostile work environment and

 3   which resulted in his termination on or about December 2 7, 2019. Plaintiff is informed and believes and

 4   thereon alleges that he would not have been subjected to this abuse if he were not over the age of 40.

 5   19.     During the entire period of plaintiffs employment, plaintiff's work was highly acceptable and

 6   satisfactory as repeatedly reported to plaintiff during numerous individual and Supervisory meetings during

 7   the course of plaintiffs employment.

 8   20.     Plaintiff was treated in a disparate manner and subjected to DHL SUPPLY CHAIN's unfair policies

 9   and practices in that plaintiff was treated unequal and unlike employees outside of plaintiffs protected

10   classifications. Said unfair policies and practices both limited plaintiff in his job classifications, job

11   assignments and other benefits.

12   21.     As a result of DHL SUPPLY CHAIN's policies and practices plaintiff was unjustly and

13   discriminatorily deprived of equal employment opportunities because of his age.

14   22.     DHL SUPPLY CHAIN' s discriminatory actions against plaintiff, as alleged above, constituted

15   unlawful discrimination in employment on account of age in violation of the Fair Employment and Housing

16   Act (FERA) (Govt. C. §§12900- 12996).

17   23.     During the aforementioned dates, DHL SUPPLY CHAIN also subjected plaintiff to differential

18   treatment. DHL SUPPLY CHAIN made its employment decisions related to the imposition of discipline

19   solely on the basis of improper consideration of the employee's age, and completely subjective analysis in

20   willful disregard of leadership qualities, merit, past record, qualification, reaction of other employees etc.

21   No fair and objective standards were used for decisions related to the imposition of discipline. DHL

22   SUPPLY CHAIN' s decision-making process related to discipline was a primary source of discrimination

23   which resulted in an improper denial of advancement opportunities to employees over the age of 40

24   including plaintiff.

25   24.     As a further proximate result of DHL SUPPLY CHAIN's discriminatory actions against plaintiff, as

26   alleged above, plaintiff has been harmed in that plaintiff has suffered humiliation, mental anguish, and

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


                                                             -5-
             Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 9 of 36




 1   emotional and physical distress, and has been injured in mind and body. As a result of such discrimination

 2   and consequent harm plaintiff has suffered damages in an amount according to proof.

 3   25.     As a proximate result ofDHL SUPPLY CHAIN's discriminatory and harassing actions against

 4   plaintiff as alleged above, plaintiff has been harmed in that plaintiff has sustained substantial compensable

 5   losses, including, but not limited to: losses in earnings, wages, salary, commissions, bonuses, deferred

 6   compensation and other employment benefits, injuries to plaintiffs protected property interests, general

 7   damage to plaintiffs reputation, loss due to stigma, injury to plaintiffs property, business, trade, profession

 8   and occupation, the expenses plaintiff has incurred mitigating the conduct of DHL SUPPLY CHAIN, and

 9   loss of earnings, deferred compensation and other employment benefits, the attorneys' fees and other

10   litigation expenses plaintiff has incurred and will continue to incur in prosecuting this action, interest on the

11   amount of losses incurred in earnings, deferred compensation and other employee benefits, the interest on

12   borrowed money, the value of plaintiffs time in prosecuting this action, the travel expenses plaintiff has

13   incurred and will continue to incur in prosecuting this action; other economic losses, other incidental

14   expenses and other special and general damages. Plaintiffs substantial compensable losses are in amounts

15   not fully ascertained.

16   26.     On or about March 18, 2020, and within one year of the date of the last act of the continuing pattern

17   and practice of discrimination and harassment herein alleged against defendant by plaintiff, plaintiff filed a

18   charge of discrimination with the California Department of Fair Employment and Housing (hereinafter,

19   "DFEH").

20   27.    On or about March 18, 2020, the DFEH issued to plaintiff a notice of right to bring a civil action

21   against the defendant based on the charge of discrimination filed with the DFEH.

22   28.    Thereafter on or about March 23, 2020, the JUDICIAL COUNCIL OF CALIFORNIA

23   issued its STATEWIDE ORDER BY HON. TANI G. CANTIL-SAKAUYE, CHIEF JUSTICE OF

24   CALIFORNIA AND CHAIR OF THE JUDICIAL COUNCIL MARCH 23, 2020 which recited the

25   following:

26

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28



                                                            -6-
            Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 10 of 36




     "The World Health Organization, the United States Centers for Disease Control and Prevention (CDC), and

 2   the State of California have recognized that the world, country, and state face a life-threatening pandemic

 3   caused by the COVID-19 virus. As of March 23, 2020, the CDC reported that there are more than 40,000

 4   confirmed COVID-19 cases in the United States, and more than 500 deaths. In California, the Department

 5   of Public Health reports more than 1,700 confirmed cases and more than 30 deaths. Health officials expect

 6   these figures to rise dramatically unless the population adheres to shelter-in-place guidelines and appropriate

 7   social distancing. As of this date, there is no known cure or vaccination.

 8   In response to the spread of COVID-19, Governor Newsom on March 4, 2020, declared a state of

 9   emergency in California, which was followed on March 13, 2020, by President Trump declaring a national

10   emergency. Beginning on March 16, 2020, California counties began issuing shelter-in-place or stay-at-

11   home orders. On March 19, 2020, Governor Newsom issued Executive Order N-33-20, requiring all

12   Californians to stay home, subject to certain limited exemptions. Courts are included in this exemption.

13   Schools have been closed statewide.

14   The CDC, the California Department of Public Health, and local county health departments have
15   recommended increasingly stringent social distancing measures of at least six feet between people and

16   encouraged vulnerable individuals to avoid public spaces.

17   Courts cannot comply with these health restrictions and continue to operate as they have in the past. Court

18   proceedings require gatherings of court staff, litigants, attorneys, witnesses, and juries, well in excess of the

19   numbers allowed for gathering under current executive and health orders. Many court facilities in California

20   are ill-equipped to effectively allow the social distancing and other public health requirements required to

21   protect people involved in court proceedings and prevent the further spread of COVID-19. Even if court

22   facilities could allow for sufficient social distancing, the closure of schools means that many court
23   employees, litigants, witnesses, and potential jurors cannot leave their homes to attend court proceedings

24   because they must stay home to supervise their children. These restrictions have also made it nearly

25   impossible for courts to assemble juries.

26

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


                                                             -7-
            Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 11 of 36




     Pursuant to my authority under the California Constitution, article VI, section 6 and Government Code

 2   section 68115, and after careful consideration, balancing the constitutional due process rights of parties in

 3   both criminal and civil proceedings with the health and safety of these parties, the public, court staff,

 4   judicial officers, attorneys, witnesses, jurors, and others present at these proceedings, among other

 5   considerations,."

 6   29.    Thereafter, on April 6, 2020, the California Judicial Council held its second emergency meeting to

 7   address issues arising in the California court system as a result of the COVID-19 pandemic. The Judicial

 8   Council, led by Chief Justice of the California Supreme Court Tani Cantil-Sakauye passed 11 emergency

 9   rules, including Emergency Rule 9, which tolls the statute of limitations for all civil causes of action,

10   beginning on April 6, 2020 and ending 90 days after the governor declares the statewide state of emergency

11   related to COVID-19 is lifted.

12   30.    Thereafter, in or about June 2020, the California Judicial Council amended Emergency Rule 9 of the

13   California Rules of Court and the amended Emergency Rule 9 created two tolling periods depending on the

14   length of the pertinent statute oflimitation. Under Rule 9(a), statutes of limitations that exceed 180 days are

15   tolled from April 6, 2020, until October 1, 2020.

16   31.    This complaint has been filed within one year of PLAINTIFF's receipt of the Notification of Right

17   to Sue and considering the application of the various Covid-19 emergency orders addressed in paragraphs

1s   27 through 30, affecting the time within which civil causes of action were to be filed.

19   32.    The unlawful employment practices complained of above were intentional.

20
                                            SEOND CAUSE OF ACTION
21     (Plaintiff STEPHEN BRATSET' S Second Cause of Action for Age Harassment, Violation of Fair
22
          Employment and Housing Act against Defendant DHL SUPPLY CHAIN and DOES 1-50)

23   33.    Plaintiff refers to, realleges, and incorporates by reference, as though fully set forth herein, the

24   allegations, and each of them, contained in paragraphs 1 through 32.

25   34.    At all times mentioned in this complaint, Government Code sections 12940 et seq. were in full force

26   and effect and were binding on defendants. These sections require defendants to refrain from discriminating

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


                                                            -8-
            Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 12 of 36




     against and harassing any employee on the basis of age, among other things . Within the time provided by

 2   law, plaintiff filed a complaint with the California Department of Fair Employment and Housing, in full

 3   compliance with these sections, and received a right-to-sue letter.

 4   35.     During the course of plaintiffs employment, defendants created and allowed to exist an

 5   environmentally hostile environment based on age; and defendants discriminated against and harassed
 6   plaintiff on the basis of plaintiffs age. Such discrimination and harassment was in violation of Government

 7   Code section 12940 et seq. and the public policy embodied therein, and has resulted in damage and injury to

 8   plaintiff as alleged herein.

 9   36.     As a proximate result of defendants' conduct, plaintiff has suffered and continues to suffer

10   humiliation, emotional distress, and mental and physical pain and anguish, all to his damage in a sum

11   according to proof.

12   37.     Plaintiff has incurred and continues to incur legal expenses and attorney fees. Plaintiff is presently

13   unaware of the precise amount of these expenses and fees and prays leave of court to amend this complaint

14   when the amounts are more fully known.

15                                           THIRD CAUSE OF ACTION

16     (Plaintiff STEPHEN BRATSET's Third Cause of Action for Employment Discrimination on The
     Basis of Race and National Origin, Violation of Fair Employment and Housing Act against defendant
17                                DHL SUPPLY CHAIN and DOES 1-50)
18
     38.     Plaintiff refers to, realleges, and incorporates by reference, as though fully set forth herein, the
19
     allegations, and each of them, contained in paragraphs 1 through 37.
20
     39.     Plaintiff is informed and believes and thereon alleges that throughout the period that plaintiff was
21
     employed by DHL SUPPLY CHAIN, DHL SUPPLY CHAIN acting through its agents and plaintiffs
22
     managers, supervisors and co-workers and others engaged in intentional acts with the intent of
23
     discriminating against and harassing plaintiff on account of his race and national origin (Caucasian male) in
24
     violation of the provisions of the California Fair Employment and Housing Act (FEHA) (Govt. C. §§12900-
25
     12996).
26

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28
             Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 13 of 36




     40.     Plaintiff is informed and believes and thereon alleges that during the time plaintiff was employed by

 2   DHL SUPPLY CHAIN, he was discriminated against with respect to the terms, conditions, and privileges o

 3   his employment because of his race and national origin as follows: During the course of his employment,

 4   plaintiff came under the supervision of defendant's managers and supervisors who subjected plaintiff to

 5   differential terms and conditions of employment because of his race. These differential terms and
 6   conditions of employment included but were not limited to harassment not experienced by employees whos

 7   race and national origin were different than that of plaintiff, as well as excessive criticism not otherwise

 8   directed to employees whose race and national origin were different than that of plaintiff. Such
 9   discrimination and harassment consisted of, but was not limited to, unfounded complaints made against

1o   plaintiff concerning plaintiffs work, retaliation against plaintiff, denial of advancement, promotions and

11   other benefits, and repeated acts of harassment and discrimination directed at plaintiff which for him created

12   an environmentally hostile work environment.

13   41.     During the aforementioned dates, DHL SUPPLY CHAIN also subjected plaintiff to differential

14   treatment including biased evaluations and denied him equal opportunities for advancement and promotions
15   because of his race and national origin. DHL SUPPLY CHAIN made its employment decisions related to

16   advancement, promotion and discipline on the basis of completely subjective analysis, in willful disregard

17   ofleadership qualities, merit, past record, qualification, reaction of other employees etc. No objective
18   standards were used for recruitment, hiring, discipline and promotion. DHL SUPPLY CHAIN's decision-

19   making process related to advancement, promotion and discipline was a primary source of discrimination
20   which resulted in an improper denial of advancement opportunities to Caucasian employees and in
21   particular to plaintiff.

22   42.     DHL SUPPLY CHAIN knew or should have known of these harassing and discriminatory actions
23   because plaintiffs managers, supervisors and co-workers and others' discriminatory and harassing behavior
24   was brought directly to the attention ofDHL SUPPLY CHAIN. Despite DHL SUPPLY CHAIN's actual

25   and constructive knowledge of the above-mentioned harassment, and the knowledge of its supervisors and

26   agents, DHL SUPPLY CHAIN failed to take immediate and appropriate corrective action to stop the

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRlMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR illRY TRlAL
28


                                                           -10-
            Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 14 of 36




     discrimination and harassment. Furthermore, before the harassment occurred DHL SUPPLY CHAIN failed

 2   to take all reasonable steps to prevent such harassment and discrimination from occurring.

 3   43.     Plaintiff dreaded working in this environmentally hostile and discriminatory environment and was

 4   under constant stress. This constant pattern of harassment and discrimination caused plaintiff to suffer

 5   constant severe emotional distress including but not limited to fright, shock, nervousness, anxiety, worry,

 6   grief, stress, indignity, apprehension, and fear. Plaintiffs ability to perform his job was severely impacted

 7   by the behavior of defendant's managers and supervisors.

 8   44.     During the entire period of plaintiffs employment, plaintiffs work was highly acceptable and

 9   satisfactory as repeatedly reported to plaintiff during numerous individual and supervisory meetings during

10   the course of plaintiffs employment.

11   45.     Dung the course of plaintiffs employment with DHL SUPPLY CHAIN he complained to DHL

12   SUPPLY CHAIN about DHL SUPPLY CHAIN's managers', supervisors', co-workers' and others'

13   discriminatory and harassing behavior towards him and complained about DHL SUPPLY CHAIN's

14   environmentally hostile and offensive environment. On or about December 27, 2019, DHL SUPPLY

15   CHAIN discharged plaintiff for his alleged violation of policies.

16   46.     Plaintiff as a Caucasian male was treated in a disparate manner and subjected to DHL SUPPLY

17   CHAIN' s unfair policies and practices in that plaintiff was treated unequal and unlike employees whose

1s   race and national origin were different than that of plaintiff. Said unfair policies and practices both limited

19   plaintiff in his job classifications, job assignments and other benefits, because of plaintiffs race, and further

20   resulted in his discharge from employment on or about December 27, 2019.

21   47.     DHL SUPPLY CHAIN denied equal employment opportunities to plaintiff because of plaintiffs

22   race, to wit:

23   A.      The reason given for plaintiffs discharge was a mere pretext for unlawful discrimination.

24   B.      DHL SUPPLY CHAIN did not discharge or discipline similarly situated employees whose race and

25   national origin were different than that of plaintiff who committed similar or more serious policy violations.

26

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


                                                            -11-
            Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 15 of 36




     48 .   As a result of DHL SUPPLY CHAIN's policies and practices plaintiff was unjustly and

 2   discriminatorily deprived of equal employment opportunities because of his race. As a direct and proximate

 3   result of DHL SUPPLY CHAIN's acts, plaintiff has suffered great and irreparable economic and other loss .

 4   49.    DHL SUPPLY CHAIN's discriminatory actions against plaintiff, as alleged above, constituted

 5   unlawful discrimination in employment on account of race in violation of the Fair Employment and Housing

 6   Act (PEHA) (Govt. C. §§ 12900- 12996).

 7   50.    As a proximate result ofDHL SUPPLY CHAIN's discriminatory actions against plaintiff as alleged

 8   above, plaintiff has been harmed in that plaintiff has suffered the loss of the wages, salary, benefits, and

 9   additional amounts of money plaintiff would have received had he not been terminated. As a result of such

10   discrimination and consequent harm, plaintiff has suffered such damages in an amount according to proof.

11   51.    As a further proximate result of DHL SUPPLY CHAIN's discriminatory actions against plaintiff, as

12   alleged above, plaintiff has been harmed in that plaintiff has suffered humiliation, mental anguish, and

13   emotional and physical distress, and has been injured in mind and body. As a result of such discrimination

14   and consequent harm plaintiff has suffered damages in an amount according to proof.

15   52.    As a proximate result ofDHL SUPPLY CHAIN's discriminatory and harassing actions against

16   plaintiff as alleged above, plaintiff has been harmed in that plaintiff has sustained substantial compensable

17   losses, including, but not limited to: losses in earnings, wages, salary, commissions, deferred compensation

18   and other employment benefits, injuries to plaintiffs protected property interests, general damage to

19   plaintiffs reputation, loss due to stigma, injury to plaintiffs property, business, trade, profession and

20   occupation, the expenses plaintiff has incurred mitigating the conduct of DHL SUPPLY CHAIN, losses

21   incurred seeking substitute employment and loss of earnings, deferred compensation and other employment

22   benefits, the attorneys' fees and other litigation expenses plaintiff has incurred and will continue to incur in

23   prosecuting this action, interest on the amount of losses incurred in earnings, deferred compensation and

24   other employee benefits, the interest on borrowed money, the value of plaintiffs time in prosecuting this

25   action, the travel expenses plaintiff has incurred and will continue to incur in prosecuting this action; other

26   economic losses, other incidental expenses and other special and general damages. Plaintiffs substantial

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OFFAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28



                                                            -12-
               Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 16 of 36




     compensable losses are in amounts not fully ascertained.

 2   53.       On or about March 18, 2020, and within one year of the date of the last act of the continuing pattern

 3   and practice of discrimination and harassment herein alleged against defendant by plaintiff, plaintiff filed a

 4   charge of discrimination with the California Department of Fair Employment and Housing (hereinafter,

 5   "DFEH").

 6   54.       On or about March 18, 2020, the DFEH issued to plaintiff a notice of right to bring a civil action

 7   against the defendant based on the charge of discrimination filed with the DFEH.
 8                                          FOURTH CAUSE OF ACTION

 9     (Plaintiff STEPHEN BRATSET's Fourth Cause of Action for Wrongful Discharge in Violation of
                    Public Policy against Defendants DHL SUPPLY CHAIN and DOES 1-50)
     55.       Plaintiff refers to, realleges, and incorporates by reference, as though fully set forth herein, the
11
     allegations, and each of them, contained in paragraphs 1 through 54.
12
     56.       Plaintiff entered employment with defendants and duly performed all of the conditions of his
13
     employment.
14
     57.       At all times mentioned in the complaint, California Constitution Article I Section 8 was in full force
15
     and effect and was binding on DEFENDANTS. This section required DEFENDANTS to refrain from
16
     discriminating against any employee on the basis of race or age.
17
     58.       Plaintiff is informed and believes and thereon alleges that his age or race, creed, color or national or
18
     ethnic origin was a factor in DEFENDANTS 's discriminatory and harassing treatment of him which
19
     consisted of, but was not limited to retaliation against plaintiff and DEFENDANTS's decision to terminate
20
     him. Such discrimination is in violation of the public policy of the State of California as reflected in
21
     California Constitution Article I, Section 8, and has resulted in damages and injury to plaintiff as alleged
22
     herein.
23
     59.       DEFENDANTS' actions violated the provisions of the Fair Employment and Housing Act (PEHA)
24
     (Government Code §§12900-12966). Such discrimination is in violation of the public policy of the State of
25

26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


                                                               -13-
                   Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 17 of 36




         California as reflected in California FERA, and has resulted in damages and injury to plaintiff as alleged

 2       herein.
 3       60.       The actions alleged in Paragraphs 1- 84 above, specifically the fact that plaintiff was subjected to
 4       disability discrimination and harassment by DEFENDANTS caused plaintiff to be wrongfully discharged
 5       from his employment in violation of public policy. Plaintiff was in essence effectively discharged in
 6
         retaliation for attempting to exercise his fundamental right to be free from disability discrimination and
 7
         harassment.
 8                 As a proximate result of the wrongful discharge of plaintiff, plaintiff has become so severely
         61.
 9       emotionally distressed and physically ill all to plaintiffs damage in an amount according to proof.

                                                   FIFTH CAUSE OF ACTION
11              (Plaintiff STEPHEN BRATSET' s Fifth Cause of Action for Retaliation, Violation of Fair
               Employment and Housing Act against Defendants DHL SUPPLY CHAIN and DOES 1-50)
12
         62.       Plaintiff refers to, realleges, and incorporates by reference, as though fully set forth herein, the
13

14
         allegations, and each of them, contained in paragraphs 1 through 61 .
         63.       During the course of plaintiffs employment with DEFENDANTS, he complained to
15
         DEFENDANTS about DEFENDANTS' managers', supervisors', co-workers' and others' unfair,
16

         discriminatory and harassing behavior towards him and complained about DEFENDANTS'
17
         environmentally hostile and offensive environment. On or about December 27, 2019, Defendants retaliated
18
         against plaintiff for making these complaints by terminating his employment with DEFENDANTS.
19
         64.       DEFENDANTS' treatment of plaintiff was in violation of Government Code section 12940(h).
20
         Within the time provided by law, plaintiff filed a complaint with the California Department of Fair
21
         Employment and Housing (hereafter, DFEH) against all named defendants and received a right to sue letter.
22
         65.       As a proximate result of DEFENDANTS' retaliatory actions against plaintiff as alleged above,
23

         plaintiff has been harmed in that plaintiff has sustained substantial compensable losses, including, but not
24

         limited to : losses in earnings, wages, salary, commissions, deferred compensation and other employment
25

     '   benefits; injuries to plaintiffs protected property interests; general damage to plaintiffs reputation; loss due
26

21       COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
         (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR mRY TRIAL
28


                                                                   -14-
            Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 18 of 36




     to stigma; injury to plaintiffs property, business, trade, profession and occupation; the expenses plaintiff

 2   has incurred mitigating the conduct of DEFENDANTS ; deferred compensation and other employment

 3   benefits; the attorneys' fees and other litigation expenses plaintiff has incurred and will continue to incur in

 4   prosecuting this action; interest on the amount of losses incurred in earnings, deferred compensation and

 5   other employee benefits; the interest on borrowed money; the value of plaintiffs time in prosecuting this

 6   action; the travel expenses plaintiff has incurred and will continue to incur in prosecuting this action; other

 7   economic losses; other incidental expenses; and other special and general damages. Plaintiffs substantial

 8   compensable losses are in amounts not fully ascertained.

 9   66.    As a further proximate result of DEFENDANTS' retaliatory actions against plaintiff as alleged

10   above and the acts, omissions and conduct of DEFENDANTS, plaintiff has suffered, and continues to

11   suffer, embarrassment, mortification, indignity and humiliation and severe physical, mental and emotional

12   distress and discomfort and irreparable injury to his business reputation, all to his detriment and damage in

13   amounts not fully ascertained, and for which plaintiff has been forced to seek personal, medical and related

14   care and treatment and plaintiff has incurred and will continue to incur, expenses therefore.

15   67.    On or about March 18, 2020, and within one year of the date of the last act of the continuing pattern
16   and practice of discrimination and harassment herein alleged against defendant by plaintiff, plaintiff filed a

17   charge of discrimination with the California Department of Fair Employment and Housing (hereinafter,

18   "DFEH").

19   68.    On or about March 18, 2020, the DFEH issued to plaintiff a notice of right to bring a civil action

20   against the defendant based on the charge of discrimination filed with the DFEH.

21                                           SIXTH CAUSE OF ACTION

22    (Plaintiff STEPHEN BRATSET's s Sixth Cause of Action against Defendant DHL SUPPLY CHAIN
       Constructive Discharge in Violation of Public Policy - Plaintiff Required to Violate Public Policy)
23
     69.    Plaintiff realleges and incorporates herein by reference each and every allegation contained in
24
     paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth herein.
25

26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28



                                                            -15-
             Case 4:22-cv-00263-JSW
                             ---.,,_ Document 6-1 Filed 01/13/22 Page 19 of 36
                                   \



     70.     Plaintiff was constructively discharged from his employment with Defendants for reasons that

 2   violate publi~ policy including, but not limited to, requiring Plaintiff to engage in unsafe activity, as alleged

 3   herein, in order to remain employed by Defendants, and for Plaintiff reporting in good faith the working

 4   conditions he believed to be unsafe.

 5   71.     Defendants' requirement that Plaintiff engage in unsafe activity, as alleged herein, in order to remain

 6   employed by Defendants was so intolerable that a reasonable person in Plaintiffs position would have had

 7   no reasonable alternative except to resign. Plaintiff did in fact resign as a result of Defendants' conduct as

 8   alleged herein.

 9   72.     As alleged herein, Plaintiff was subjected to working conditions that violated public policy, in that

1o   he was forced to engage in unsafe activity in order to remain employed by Defendants. Defendants

11   intentionally created or knowingly permitted these unsafe working conditions to exist. The conditions unde

12   which Plaintiff was forced to work were so intolerable that a reasonable person in Plaintiffs position would

13   have had no reasonable alternative except to resign.

14   73.     As a legal and proximate result of Defendants' conduct as alleged hereinabove, Plaintiff has been

15   harmed in that Plaintiff has suffered the loss of wages, salary, and additional amounts of money Plaintiff

16   would have received but for the aforementioned conduct including future wages and benefits that Plaintiff

17   would have earned for the length of time the employment with Defendants was reasonably certain to

18   continue. As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount

19   according to proof at trial.
                       I   .
20   74.     As a l rther legal and proximate result of Defendants' conduct, as alleged above, Plaintiff has been

21   harmed in thi1 Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional distress.

22   As a result ofi such conduct and consequent harm, Plaintiff has suffered damages in an amount according to

23   proof at trial.

24   75.     The above-recited actions of Defendants were done with malice, fraud and oppression, and in

25   conscious, deII picable and reckless disregard of Plaintiffs rights. Accordingly, Plaintiff is entitled to seek

26

27   COMPLAIN FOR DAMAGES FOR EMPLOYMENT DISCRJMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRJAL
28


                                                            -I 6-
            Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 20 of 36




     and does seek punitive damages in an amount according to proof against Defendants pursuant to California

 2   Civil Code section 3294 and to the extent permitted by law.

 3                                         SEVENTH CAUSE OF ACTION

 4         (Plaintiff STEPHEN BRATSET's Seventh Cause of Action against Defendant DHL SUPPLY
           CHAIN; Constructive Discharge in Violation of Public Policy-Plaintiff Required to Endure
 5                    Intolerable Conditions for Improper Purpose That Violate Public Policy)
 6   76.     Plaintiff realleges and incorporates herein by reference each and every allegation contained in

 7   paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth herein.

 8   77.     Plaintiff further alleges that throughout the time of his employment Defendants intentionally created

 9   I or knowingly permitted/ or allowed these unsafe working conditions to exist at plaintiff's job sites that
10   directly affected the health and safety of its employees including plaintiff working at those job sites. These

11   unsafe and unhealthy working conditions included but were not limited to the conditions identified in the

12   preceding paragraphs.

13   78.     Plaintiff was subjected to working conditions that violated public policy, in that throughout the time

14   of his employment with Defendants, plaintiff was treated intolerably for having made good faith complaints

15   to upper-level Defendant owners, managers and supervisors regarding the unhealthy and unsafe working

16   conditions he observed, and which he believed he was subjected to. Throughout his employment plaintiff

17   refused to participate in, countenance, acquiesce or tolerate the unsafe working conditions described above.

18   As a result of plaintiff reporting the unsafe working conditions described above to management plaintiff

19   ultimately was constructively terminated from his employment with Defendants.

20   79.     Defendants' wrongful discharge of plaintiff was in violation of well-established public policies that

21   prohibit an employer from retaliating against those employees who in good faith report working conditions

22   they believe to be unsafe as set forth in California Labor Code § 6310.

23   80.     Plaintiff was constructively discharged from his employment with Defendants for reasons that

24   violate public policy including, but not limited to, those allegations as set forth in the Statement of Facts

25   included hereinabove and, specifically, his having been treated intolerably for having made good faith

26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRJMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRJAL
28


                                                            -17-
            Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 21 of 36




     complaints to upper-level Defendant owners, managers and supervisors regarding the unhealthy and unsafe

 2   working conditions he observed, and which he believed he was subjected to .

 3   81.     The working conditions set forth above were so intolerable that a reasonable person in Plaintiffs

 4   position would have had no reasonable alternative except to resign. Plaintiff did in fact resign as a result of

 s   Defendants' conduct as alleged herein.

 6   82.     As alleged herein, Plaintiff was subjected to working conditions that violated public policy, in that

 7   Plaintiff was treated intolerably for having made good faith complaints to upper-level Defendant owners,

 8   managers and supervisors regarding the unhealthy and unsafe working conditions he observed, and which

 9   he believed he was subjected to. Defendants intentionally created or knowingly permitted these working

10   conditions. The conditions under which Plaintiff was forced to work were so intolerable that a reasonable

11   person in Plaintiffs position would have had no reasonable alternative except to resign.

12   83 .    As a legal and proximate result of Defendants' conduct as alleged hereinabove, Plaintiff has been

13   harmed in that Plaintiff has suffered the loss of wages, salary, and additional amounts c,f money Plaintiff

14   would have received but for the aforementioned conduct including future wages and benefits that Plaintiff

15   would have earned for the length of time the employment with Defendants was reason2cbly certain to

16   continue. As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount

17   according to proof at trial.

18   84.     As a further legal and proximate result of Defendants' conduct, as alleged above, Plaintiff has been

19   harmed in that Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional distress.

20   As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount according to

21   proof at trial.

22   85 .    The above-recited actions of Defendants were done with malice, fraud and oppression, and in
23   conscious, despicable and reckless disregard of Plaintiffs rights. Accordingly, Plaintiff is entitled to seek

24   and does seek punitive damages in an amount according to proof against Defendants pursuant to California

25   Civil Code section 3294 and to the extent permitted by law.

26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRJMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR mRY TRJAL
28


                                                           -18-
            Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 22 of 36




                                           EIGHTH CAUSE OF ACTION

 2   (Plaintiff STEPHEN BRATSET's Eighth Cause of Action against Defendant DHL SUPPLY CHAIN;
                  Wrongful Termination in Violation of Labor Code, Cal. Labor Code§ 6311)
 3
     86.     Plaintiff realleges and incorporates herein by reference each and every allegation contained in
 4
     paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth herein.
 5
     87.     California Labor Code section 6311 states that, "no employee shall be laid off or discharged for
 6
     refusing to perform work in the performance of which this code, including Section 6400, any occupational
 7
     safety or health standard or any safety order of the division or standards board will be violated, where the
 8
     violation would create a real and apparent hazard to the employee or his or her fellow employees. Any
 9
     employee who is laid off or discharged in violation of this section or is otherwise not paid because he or she

     refused to perform work in the performance of which this code, any occupational safety or health standard
11
     or any safety order of the division or standards board will be violated and where the violation would create a
12
     real and apparent hazard to the employee or his or her fellow employees shall have a right of action for
13
     wages for the time the employee is without work as a result of the layoff or discharge."
14
     88.     As set forth hereinabove, Plaintiff, at the command of Defendants, was forced to engage in unsafe in
15
     violation of California Labor Code section 6311.
16
     89.     Defendants conduct as alleged herein, created a real and apparent hazard and caused harm thereby to
17
     Plaintiff.

     90.     As a legal and proximate result of Defendants conduct as alleged hereinabove, Plaintiff has been
19
     harmed in that Plaintiff has suffered the loss of wages, salary, and additional amounts of money Plaintiff
20
     would have received but for the aforementioned conduct including future wages and benefits that Plaintiff
21
     would have earned for the length of time the employment with Defendants was reasonably certain to
22
     continue. As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount
23
     according to proof at trial.
24
     91.     As a further legal and proximate result of Defendants' conduct, as alleged above, Plaintiff has been
25
     harmed in that Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional distress.
26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OFF AIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR ITJRY TRIAL
28


                                                           -19-
               Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 23 of 36




     As a result of such conduct and consequent hmm, Plaintiff has suffered damages in an amount according to

 2   proof at trial.

 3   92.       The above-recited actions of Defendants were done with malice, fraud and oppression, and in

 4   conscious, despicable and reckless disregard of Plaintiff's rights. Accordingly, Plaintiff is entitled to seek

 5   and does seek punitive damages in an amount according to proof against Defendants pursuant to

 6   California Civil Code section 3294 and to the extent permitted by law.

 7                                            NINTH CAUSE OF ACTION

 8    (Plaintiff STEPHEN BRATSET's Ninth Cause of Action against Defendant DHL SUPPLY CHAIN;
                   Wrongful Termination in Violation of Labor Code, Cal. Labor Code§ 6310)
 9
     93.       Plaintiff realleges and incorporates herein by reference each and every allegation contained in

     paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth
11
     herein.
12
     94.       Plaintiff further alleges that throughout the time of his employment Defendants intentionally created
13
     I or knowingly permitted/ or allowed these unsafe working conditions to exist at plaintiff's job sites that
14
     directly affected the health and safety of its employees including plaintiff working at those job sites. These
15
     unsafe and unhealthy working conditions included but were not limited to the conditions identified in the
16
     preceding paragraphs.
17
     95.       Plaintiff was subjected to working conditions that violated public policy, in that throughout the time
18
     of his employment with Defendants, plaintiff was treated intolerably for having made good faith complaints
19
     to upper-level Defendant owners, managers and supervisors regarding the unhealthy and unsafe working
20
     conditions he observed, and which he believed he was subjected to. Throughout his employment plaintiff
21
     refused to participate in, countenance, acquiesce or tolerate the unsafe working conditions described above.
22
     As a result of plaintiff reporting the unsafe working conditions described above to management plaintiff
23
     ultimately was terminated from his employment with Defendants.
24
     96.       Defendants' wrongful discharge of plaintiff was in violation of well-established public policies that
25

26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


                                                             -20-
             Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 24 of 36




     prohibit an employer from retaliating against those employees who in good faith report working conditions

 2   they believe to be unsafe as set forth in California Labor Code § 6310.

 3   97.     As a legal and proximate result of Defendants conduct as alleged hereinabove, Plaintiff has been

 4   harmed in that Plaintiff has suffered the loss of wages, salary, and additional amounts of money Plaintiff

 5   would have received but for the aforementioned conduct including future wages and benefits that Plaintiff

 6   would have earned for the length of time the employment with Defendants was reasonably certain to

 7   continue. As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount

 8   according to proof at trial.

 9   98.     As a further legal and proximate result of Defendants' conduct, as alleged above, Plaintiff has been

10   harmed in that Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional distress.

11   As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount according to

12   proof at trial.

13   99.     As a proximate result of Defendant's retaliatory actions against plaintiff as alleged above, plaintiff

14   has been harmed in that plaintiff has sustained substantial compensable losses, including, but not limited to:

15   losses in earnings, wages, salary, commissions, bonuses, deferred compensation and other employment

16   benefits; injuries to plaintiffs protected property interests; general damage to plaintiffs reputation; loss due

17   to stigma; injury to plaintiffs property, business, trade, profession and occupation; the expenses plaintiff

18   has incurred mitigating the conduct of Defendant; deferred compensation and other employment benefits;

19   the attorneys' fees and other litigation expenses plaintiff has incurred and will continue to incur in

20   prosecuting this action; interest on the amount of losses incurred in earnings, deferred compensation and

21   other employee benefits; the interest on borrowed money; the value of plaintiffs time in prosecuting this

22   action; the travel expenses plaintiff has incurred and will continue to incur in prosecuting this action; other

23   economic losses; other incidental expenses; and other special and general damages. Plaintiffs substantial

24   compensable losses are in amounts not fully ascertained.

25

26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT) ; AND REQUEST FOR JURY TRIAL
28


                                                            -21 -
             Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 25 of 36




     100.     The above-recited actions of Defendants were done with malice, fraud and oppression, and in

 2   conscious, despicable and reckless disregard of Plaintiffs rights. Accordingly, Plaintiff is entitled to seek

 3   and does seek punitive damages in an amount according to proof against Defendants pursuant to

 4   California Civil Code section 3294 and to the extent permitted by law.
 s                                           TENTH CAUSE OF ACTION

 6                        (Plaintiff STEPHEN BRATSET's Tenth Cause of Action against
                       Defendant DHL SUPPLY CHAIN; Breach of Implied in Fact Contract)
 7
     101 .    Plaintiff realleges and incorporates herein by reference each and every allegation contained in
 8
     paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth herein.
 9
     102.     Defendants promised, by words or conduct, that Plaintiff would only be discharged or demoted for
10
     good cause.
11
     103.     Defendants' requirement that Plaintiff engage in unsafe activities in order to remain employed by
12
     Defendants constitutes Defendants' failure to perform under, and breach of, the implied contract entered
13
     into by and between the parties. Also, Defendant promised, by words or conduct, to discharge Plaintiff only
14
     for good cause and breached that promise by discharging Plaintiff for reporting the offensive, improper,
15
     unsafe and illegal conduct of Defendants and for refusing to engage in such conduct.
16
     104.     As a result of Defendants' breach of the employment contract, Plaintiff has suffered monetary
17
     damages.
18
     105.     As a direct, foreseeable and proximate result of the above actions, Plaintiff has been harmed in that
19
     he has suffered the loss of wages, salary, benefits including front and back pay, and additional amounts of
20
     money Plaintiff would have received but for the aforementioned conduct including future wages and
21
     benefits that Plaintiff would have earned for the length of time the employment with Defendants was
22
     reasonably certain to continue.
23
                                          ELEVENTH CAUSE OF ACTION
24
             (Plaintiff's Eleventh Cause of Action against Defendant DHL SUPPLY CHAIN; Breach of
25                                             Employment Contract)

26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


                                                            -22-
            Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 26 of 36




     106.   Plaintiff realleges and incorporates herein by reference each and every allegation contained in

 2   paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth herein.

 3   107.   Plaintiff and Defendants entered into an employment relationship. Defendants promised, by words o

 4   conduct, that Plaintiff would only be discharged or demoted for good cause.
 5   108.   Plaintiff substantially performed his job duties except for the performance of any duties which were

 6   excused.
 7   109.   Defendants discharged Plaintiff without good cause.
 8   110.   As a result of Defendants breach of the employment contract, Plaintiff has suffered monetary

 9   damages.
1o   111.   As a direct, foreseeable and proximate result of the above actions, Plaintiff has been harmed in that
11   he has suffered the loss of wages, salary, benefits including front and back pay, and additional amounts of

12   money Plaintiff would have received but for the aforementioned conduct including future wages and

13   benefits that Plaintiff would have earned for the length of time the employment with Defendants was

14   reasonably certain to continue.
15                                        TWELFTH CAUSE OF ACTION

16   (Plaintiff's Twelfth Cause of Action against Defendant DHL SUPPLY CHAIN; Unlawful Retaliation,
                                    Violation of Cal. Labor Code§ 1102.5)
17
     112.   Plaintiff realleges and incorporates herein by reference each and every allegation contained in
18
     paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth herein.
19
     113.   Plaintiff refused to engage in the unsafe and potentially illegal activities as alleged hereinabove and,
20
     in fact, reported such activities to senior company officials employed by Defendants. In response to such
21
     refusal and complaining, Plaintiff was routinely not called in to work ultimately culminating in his
22
     discharge.
23
     114.   Plaintiffs repeated complaining and refusal to engage in such activities was a motivating reason for
24
     Defendants' decision to not call Plaintiff into work ultimately culminating in his discharge.
25

26

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


                                                           -23-
             Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22
                                                            · ...., Page 27 of 36
                                                                               l



     115.    California Labor Code section 1102.5 specifically states that "an employer may not retaliate against

 2   an employee for refusing to participate in an activity that would result in a violation of state or federal

 3   statute ... " Defendants insisted that Plaintiff participate in the unsafe and potentially illegal activities as

 4   alleged hereinabove, and upon his complaining or express refusal, he was summarily sent home and kept ou

 s   ofwork.
 6   116.    Labor Code section 1102.5(b) provides, in relevant part, that:

 7           "No employer shall retaliate against an employee for disclosing information to a government or law
             enforcement agency, where the employee has reasonable cause to believe that the information
 8           discloses a violation of a state or federal statute."
 9   117.    Labor Code section 1103 makes a violation of Labor Code section 1102.5 a misdemeanor.

     118.    In discharging Plaintiff, Defendants have violated Labor Code section 1102.5.

11
     119.    Plaintiff was harmed as a result of Defendants' conduct.
12
     120.    Defendants' retaliatory conduct was a substantial factor in causing Plaintiffs harm.
13
     121.    As a direct, foreseeable and proximate result of the above actions, Plaintiff has been harmed in that
14
     he has suffered the loss of wages, salary, benefits including front and back pay, and additional amounts of
15
     money Plaintiff would have received but for the aforementioned conduct including future wages and
16
     benefits that Plaintiff would have earned for the length of time the employment with Defendants was
17
     reasonably certain to continue.
18
     122.    As a further legal and proximate result of Defendants' conduct, as alleged above, Plaintiff has been
19
     harmed in that Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional distress.
20
     As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount according to
21
     proof at trial.
22
     123.    The above-recited actions of Defendants were done with malice, fraud and oppression, and in
23
     conscious, despicable and reckless disregard of Plaintiffs rights. Accordingly, Plaintiff is entitled to seek
24
     and does seek punitive damages in an amount according to proof against Defendants pursuant to California
25
     Civil Code section 3294 and to the extent permitted by law.
26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


                                                             -24-
             Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 28 of 36




                                        THIRTEENTH CAUSE OF ACTION

 2      (Plaintiff STEPHEN BRATSET's Thirteenth Cause of Action against Defendant DHL SUPPLY
                    CHAIN; Breach of the Implied Covenant of Good Faith and Fair Dealing)
 3
     124.    Plaintiff realleges and incorporates herein by reference each and every allegation contained in
 4
     paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth herein.
 5
     125.    Plaintiff entered into an employment relationship with Defendants.
 6
     126.    Plaintiff substantially performed all of his job duties except for the performance of any duties which
 7
     were excused.
 8
     127.    Defendants' requirement that Plaintiff er.gage in unsafe and potentially illegal activities, as set forth
 9
     hereinabove, in order to continue his employment with Defendants, constitutes a failure to act fairly and in
10
     good faith.
11
     128.    As a legal and proximate result of Defenjants' conduct as alleged hereinabove. Plaintiff has been
12
     harmed in that Plaintiff has suffered the loss of wages, salary, and additional amounts of money Plaintiff
13
     would have received but for the aforementioned conduct including future wages and benefits that Plaintiff
14
     would have earned for the length of time the em;:,loyment with Defendants was reasonably certain to
15
     continue. As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount
16
     according to proof at trial.
17
     129.    As a further legal and proximate result of Defendants' conduct, as alleged above, Plaintiff has been
18
     harmed in that Plaintiff has suffered, and continues to suffer, severe mental anguish and emotional distress.
19
     As a result of such conduct and consequent harm, Plaintiff has suffered damages in an amount according to
20
     proof at trial.
21
     130.    The above-recited actions of Defendants were done with malice, fraud and oppression, and in
22
     conscious, despicable and reckless disregard of Plaintiffs rights. Accordingly, Plaintiff is entitled to seek
23
     and does seek punitive damages in an amount according to proof against Defendants pursuant to California
24
     Civil Code section 3294 and to the extent permitted by law.
25

26

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRIMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR JURY TRIAL
28


                                                            -25-
               Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 29 of 36




                                          FOURTEENTH AUSE OF ACTION

 2           (Plaintiff STEPHEN BRATSE T's Fourteenth Cause of Action for Violation of California
          Government Code Section 12940(k) against Defendants DHL SUPPLY CHAIN and DOES 1-50)
 3
     131.      Plaintiff realleges and incorporates herein by reference each and every allegation contained in
 4
     paragraphs 1 through the paragraph immediately preceding this paragraph, as though fully set forth
 5
     herein.
 6
     132.      At all times mentioned in this complaint, Government Code section 12940(k) was in full force and
 7
     effect and was binding on defendants. This subsection requires defendants to take all reasonable steps
 8
     necessary to prevent discrimination and harassment from occurring. As alleged above, defendants violated
 9
     this subsection by failing to take all reasonable steps necessary to prevent discrimination and harassment

     from occurring. Within the time provided by law, plaintiff filed a Complaint with the California
11
     Department of Fair Employment and Housing and received a right-to-sue letter.
12
     13 3.     As a proximate result of defendants' conduct, plaintiff has suffered and continues to suffer
13
     humiliation, emotional distress, and mental and physical pain and anguish, all to his damage in a sum
14
     according to proof.
15
     134.      Defendants' conduct as described above was willful, despicable, knowing, and intentional;
16
     accordingly, plaintiff seeks an award of punitive and exemplary damages in an amount according to proof.
17
     13 5.     Plaintiff has incurred and continues to incur legal expenses and attorney fees. Plaintiff is presently
18
     unaware of the precise amount of these expenses and fees and prays leave of comi to amend this complaint
19
     when the amounts are more fully known.
20
     WHEREFORE, plaintiff prays for judgment as follows:
21
     1.        Compensatory damages for back pay, according to proof,
22
     2.        Compensatory damages for physical and emotional injuries and accompanying pain and
23
     suffering, according to proof,
24
     3.        For medical and related expenses according to proof,
25
     4.        For loss of earnings according to proof,
26

21   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRJMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR WRY TRJAL
28



                                                             -26-
              Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 30 of 36
                                                                             'l




     5.       For compensatory damages for disability discrimination according to proof,

 2   6.       For reasonable attorney fees, and for costs of suit incurred

 3   7.       For exemplary damages; and

 4   8.       For such other and further relief as the Court may deem proper and just.

 5                                           REQUEST FOR JURY TRIAL

 6   Plaintiff STEPHEN BRATSET requests a trial by jury on all causes
          .
 7
     Dated: August 23, 2021
 8
                                                                       l\ ichael J. Reed                      ----
 9                                                                  Attorney for Plaintiff, STEPHEN BRATSET
     (D575.002 ND)
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27   COMPLAINT FOR DAMAGES FOR EMPLOYMENT DISCRJMINATION AND HARASSMENT
     (VIOLATION OF FAIR EMPLOYMENT AND HOUSING ACT); AND REQUEST FOR mRY TRJAL
28



                                                             -27-
               Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 31 of 36
                                                             7                                                               7
  '     Attorney at Law
        Attn: Reed, Michael J.
                                                                           '
        60 CreekTree Lane
        Alamo, CA 94507
  L                                                          J             L                                                 J

                              Su erior Court of California, Count of Alameda
      Bratset                                                                          No. RG21110598
                                             Plaintiff/Petitioner(s)
                                   vs.                                      NOTICE OF CASE MANAGEMENT
                                                                              CONFERENCE AND ORDER
      DHLSu            Chain                                                        Unlimited Jurisdiction
                                          Defendant/Respondent(s)
                             (Abbreviated Title)

  TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
  Notice is given that a Case Management Conference has been scheduled as follows:

Date: 01/12/2022             Department: 520                                                 Judge: Julia Spain
rTime: 09:30 AM                Location: Hayward Hall of Justice                             Clerk: Danielle Labrecque
                                         3rd Floor                                           Clerk telephone: (510) 690-2729
                                         24405 Amador Street, Hayward CA 94544               E-mail:
       •                                                                                     Dept520@alameda.courts.ca.gov
                                Internet: www.alameda.courts.ca.gov                          Fax: (510) 267-1531

                                                                 ORDERS
  1.       Plaintiff must:

               a.   Serve all named defendants and file proofs of service on those defendants with the court within 60 days
                    of the filing of the complaint (Cal. Rules of Court, 3.1 l0(b)); and

               b.   Give notice of this conference to all other parties and file proof of service.

 2.     Defendant must respond as stated on the summons.

 3.     All parties who have appeared before the date of the conference must:

               a.   Meet and confer, in person or by telephone as required by Cal. Rules of Court, rule 3. 724;

               b.   File and serve a completed Case Management Statement on Form CM-110 at least 15 days before the
                    Case Management Conference (Cal. Rules of Court, rule 3.725); and

               c.   Post jury fees as required by Code of Civil Procedure section 631.

 4.     If you do not follow the orders above, the court may issue an order to show cause why you should not be
        sanctioned under Cal. Rules of Court, rule 2.30. Sanctions may include monetary sanctions, striking pleadings
        or dismissal of the action.

 5.     You are further ordered to appear in person or through your attorney of record at the Case Management
        Conference noticed above. You must be thoroughly familiar with the case and fully authorized to proceed. You
        may be able to appear at Case Management Conferences by telephone. Contact CourtCall, an independent
        vendor, at least three business days before the scheduled conference. Call 1-888-882-6878, or fax a service
        request to (888) 882-2946. The vendor charges for this service.

 6.     You may file Case Management Conference Statements by E-Delivery. Submit them directly to the E-Delivery
        Fax Number (510) 267-5732. No fee is charged for this service. For further information, go to
        www.alameda.courts.ca.gov/ ff

 7.     The judge may place a Tentative Case Management Order in your case's on-line register of actions before the
        conference. This order may establish a discovery schedule, set a trial date or refer the case to Alternate Dispute
        Resolution, such as mediation or arbitration. Check the website of each assigned department for procedures
        regarding tentative case management orders at www.alameda.courts.ca.gov/dc.


 Form Approved for Mandatory Use                NOTICE OF CASE MANAGEMENT CONFERENCE AND ORDER                 Page 1 of 2
 Superior Court of California, County
 of Alameda
 ALA CIV-100 [Rev. 07-01-2015]
            Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 32 of 36


                                                   CLERK'S CERTIFICATE OF MAILING
  I ce1tify that the following is tiue and correct: I am the clerk of the above-named comt and not a party to this cause. I served this Notice of
  Heaiing by placing copies in envelopes addressed as shown hereon and then by sealing and placing them for collection, stamping or metering
  with prepaid postage, and mailing on the date stated below, in the United States mail at Alameda County, California, following standard court
  practices.
                        Executed on 08/27 /202 l.

                                                                   By
                                                                                                       Deputy Clerk




Form Approved for Mandatory Use                   NOTICE OF CASE MANAGEMENT CONFERENCE AND ORDER                                 Page 2 of 2
Superior Court of California, County
of Alameda
ALA CIV-100 [Rev. 07-01-2015]
    Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 33 of 36



              Superior Court of California, County of Alameda




              Notice of Assignment of Judge for All Purposes

Case Number: RG21110598
Case Title:     Bratset VS OHL Supply Chain
Date of Filing: 08/24/2021


TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

Pursuant to Rule 3.734 of the California Rules of Court and Title 3 Chapter 2 of the
Local Rules of the Superior Court of California, County of Alameda, this action is
hereby assigned by the Presiding Judge for all purposes to:

       Judge:                 Julia Spain
       Department:            520
       Address:               Hayward Hall of Justice
                              24405 Amador Street--     - -- -
                              Hayward CA 94544
       Phone Number:          (510) 690-2729
       Fax Number:            (510) 267-1531
       Email Address:         Dept520@alameda.courts.ca.gov

Under direct calendaring, this case is assigned to a single judge for all purposes including
trial.

Please note: In this case, any challenge pursuant to Code of Civil Procedure section
170.6 must be exercised within the time period provided by law. (See Code Civ. Proc.
§§ 170.6, subd. (a)(2) and 1013.)

NOTICE OF NONAVAILABILITY OF COURT REPORTERS: Effective June 4, 2012, the
court will not provide a court reporter for civil law and motion hearings, any other hearing or
trial in civil departments, or any afternoon hearing in Department 201 (probate). Parties may
arrange and pay for the attendance of a certified shorthand reporter. In limited jurisdiction
cases, parties may request electronic recording.

Amended Local Rule 3.95 states: "Except as otherwise required by law, in general civil case
and probate departments, the services of an official court reporter are not normally
available. For civil trials, each party must serve and file a statement before the trial date
indicating whether the party requests the presence of an official court reporter."

Counsel(s) are expected to be familiar with the Statement of Professionalism and Civility,
Alameda County Bar Ass_ociation (www.acbanet.org).

IT IS THE DUTY OF EACH PLAINTIFF AND CROSS COMPLAINANT TO SERVE A COPY

                                          Page 1 of 4
    Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 34 of 36



OF THIS NOTICE IN ACCORDANCE WITH LOCAL RULES.

General Procedures

Following assignment of a civil case to a specific department, all pleadings, pap-ers, forms,
documents and writings can be submitted for filing at either Civil Clerk's Office, located at
the Rene C. Davidson Courthouse, Room 109, 1225 Fallon Street, Oakland, California,
94612, and the Hayward Hall of Justice, 24405 Amador Street, Hayward, California, 94544.
All documents, with the exception of the original summons and the original civil complaint,
shall have clearly typed on the face page of each document, under the case number, the
following:
                           ASSIGNED FOR ALL PURPOSES TO
                                     JUDGE Julia Spain
                                     DEPARTMENT 520

All parties are expected to know and comply with the Local Rules of this Court, which are
available on the court's website at: http://www.alameda.courts.ca.gov/Pages.aspx/Local-
Rules( 1) and with the California Rules of Court, wh ich are available at
www.courtinfo.ca.gov.

Parties must meet and confer to discuss the effective use of mediation or other alternative
dispute processes (ADR) prior to the Initial Case Management Conference. The court
encourages parties to file a "Stipulation to Attend ADR and Delay Initial Case Management
Conference for 90 Days". Plaintiff received that form in the ADR information package at the
time the complaint was filed. The court's website also contains this form and other ADR
information. If the parties do not stipulate to attend ADR, the parties must be prep~red Jo
discuss referral to ADR at the Initial Case Management Conference.
Appearances by attorneys not counsel of record are not permitted except for good cause
shown. (Non-emergency scheduling conflicts are not good cause). Any appearing counsel
must have full authority to make decisions on a case.

All references to counsel apply equally to self-represented parties and all must comply with
all the rules cited in this Notice. Parties are reminded that the dept. clerk is prohibited from
giving legal advice. Self-represented parties are encouraged to use the Self-Help Center at
the Hayward Hall of Justice, 24405 Amador St., Dept. 501 , Hayward .

Email is the best method of communicating with court staff. Email address for counsel or
self-represented litigants must be listed in the caption of all filed papers, as required by CRC
2.111 ( 1). All email communications must be copied to all parties for whom an email address
is available. Pleadings/documents shall not be transmitted via email.

Schedule for Department 520
   The following scheduling information is subject to change at any time, without notice.
   Please contact the department at the phone number or email address noted above if
   you have questions.
   •   Trials generally are held: Mondays, Tuesdays, Thursdays and Fridays, beginning at
       9:30 a.m.

   •   Trial Readiness Conferences are held 2 weeks prior to trial date. Compliance with
       Local Rule 3.35 and personal appearance of trial counsel is required.

   •   Case Management Conferences are held: Wednesdays at 9:30 a.m. Timely filed
       and complete CMC Statements with courtesy copy to Dept. 520 are required. The

                                           Page 2 of 4
     Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 35 of 36



         court will usually publish a Tentative Case Management Order. Check DOMAIN to
         see if Order waives CMC appearance.
     •   Law and Motion matters are heard: Wednesdays and Thursdays at 2:00 p.m.;
         Li.tigants must contact the dept.. clerk to reserv!3 a date before filing any I.aw and
         motion matter. See further procedures below.
     •   Settlement Conferences are heard: Court resources are limited . Counsel are
         encouraged to consider alternative dispute resolution. Conferences will be specially
         set as appropriate.
     •   Ex Parte matters are heard: On written applications on ly on Mondays - Thursdays.
         Email Dept. 520 to request date. Moving party must give 48 hours prior notice to
         opponent advising written opposition must be filed and courtesy copy delivered to
         Dept. 520 within 24 hours.
     •   Check Domain, Dept. 520 webpage, click on "List of Documents" for other useful
         materials.
     •   DISCOVERY DISPUTES: Parties must exhaust Meet and Confer requirements
         before contacting the court for a hearing date. No Motion to Compel Discovery will
         be scheduled until after the parties complete an informal discovery resolution
         process thru the court. Email the dept. for a date and further details before
         preparing any Motion to Compel.

 Law and Motion Procedures
 To obtain a hearing date for a Law and Motion or ex parte matter, parties must contact the
_d.epartmenJ as_f_0liows_:___ _ _ _ __
 •   Motion Reservations
        Email:        dept520@alameda.courts.ca.gov

         Please provide: 1) Name of case; 2) Case number; 3) Title of motion; 4) Moving
         party; 5) Name of Responding Party's Counsel and email address.

•    Ex Parte Matters
        Email:        dept520@alameda.courts.ca.gov


Tentative Rulings

The court may issue tentative rulings in accordance with the Local Rules. Tentative rulings
will become the Court's order unless contested in accordance with the Local Rules.
Tentative rulings will be available at:


•    Website: www.alameda .courts.ca.gov/domainweb, Calendar Information for Dept. 520
•    Phone: 1-866-223-2244




                                             Page 3 of 4
   Case 4:22-cv-00263-JSW Document 6-1 Filed 01/13/22 Page 36 of 36




       Dated: 08/26/2021
                                                      Facsimile

                                                  Presiding Judge,
                                   Superior Court of California, County of Alameda




                                  CLERK'S CERTIFICATE OF MAILING
I certify that the following is true and correct: I am the clerk of the above-named court and
not a party to this cause. I served this Notice by placing copies in envelopes addressed as
shown on the attached Notice of Initial Case Management Conference and then by sealing
and placing them for collection, stamping or metering with prepaid postage, and mailing on
the date stated below, in the United States mail at Alameda County, California, following
standard court practices.

              Executed on 08/27/2021

                                            By
                                                                  Deputy Clerk




                                        Page 4 of 4
